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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

VIRGINIA HERRMANN,                         )
individually and on behalf of all others   )
similarly situated,                        )
                                           )
        Plaintiff,                         )   Case No. 4:20-cv-00706
                                           )
v.                                         )   JURY TRIAL DEMANDED
                                           )
SAM’S EAST, INC. d/b/a SAM’S CLUB          )
#6474                                      )
                                           )
        Defendant.

     MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL
     ARBITRATION OR, IN THE ALTERNATIVE, TO DISMISS PLAINTIFF’S
             COMPLAINT FOR FAILURE TO STATE A CLAIM
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       The Court should grant Defendant Sam’s East, Inc.’s (“Sam’s Club”) Motion to

Compel Arbitration or, in the Alternative, to Dismiss Plaintiff’s Complaint for Failure to

State a Claim. All claims alleged in the Petition are subject to arbitration, pursuant to the

plain language of Plaintiff Virginia Herrmann’s Membership Agreement, and the Court

should refer them to arbitration and stay or dismiss the Petition.

       In the alternative, if the Court finds the claims are not arbitrable, the Court should

dismiss Plaintiff’s Petition in its entirety, pursuant to Federal Rule of Civil Procedure

12(b)(6), for failure to state a claim upon which relief can be granted. Plaintiff’s breach

of contract claims fail because Sam’s Club’s alleged conduct—even if true—would not

have breached Plaintiff’s membership agreement.              First, Plaintiff’s Sam’s Club

membership did not entitle her to early shopping privileges; thus, Sam’s Club’s alleged

“termination” of those privileges could not have breached her membership agreement.

Second, even if Plaintiff’s membership agreement had granted her early shopping

privileges, the agreement expressly permitted Sam’s Club to amend membership benefits

at any time. Either way, Plaintiff’s breach of contract claims fail. Plaintiff’s tort claims,

which arise from the same alleged contractual expectations, also fail because they are

barred by the economic loss doctrine. And even if they were not, the tort and statutory

claims fail to state a claim. For these and the additional reasons set forth below, the case

should be referred to arbitration or dismissed in its entirety.




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                                    BACKGROUND

I.       ALLEGATIONS IN THE PETITION

         Plaintiff alleges that at the beginning of 2019, Sam’s Club offered three

membership tiers: a $45 Sam’s Savings Membership; a $45 Business Membership,

which allowed members to shop before regular shopping hours; and a $100 Sam’s Plus

Membership, which offered additional benefits. Pet. ¶ 12. Plaintiff alleges that at the

beginning of 2019 she had a Sam’s Business Membership that renewed for an additional

year on or about February 2, 2019. Id. ¶ 13. Plaintiff alleges that she paid $45 for her

2019-2020 membership. Id. ¶¶ 12-13. According to the Petition, Plaintiff went shopping

at a Sam’s Club in Maplewood, Missouri on July 5, 2019 before regular shopping hours,

but was told at checkout that her membership did not permit early shopping and that she

could not check out prior to 9:00 a.m. unless she upgraded to a Sam’s Plus Membership.

Id. ¶ 15.     Plaintiff alleges that she upgraded to a Sam’s Plus Membership for an

additional charge of $34.35. Id. ¶ 15. Plaintiff further alleges that she was told by a

Sam’s Club employee during a subsequent visit that the store was open to all members

for early shopping hours, regardless of membership level. Id. ¶ 18.

         Plaintiff purports to assert the following causes of action: breach of contract

(Count I); breach of the implied covenant of good faith and fair dealing (Count II);

fraudulent misrepresentation (Count III); fraudulent inducement (Count IV); negligent

misrepresentation (Count V); and violation of the Missouri Merchandising Practices Act

(MMPA) (Count VI). Plaintiff also purports to assert putative class claims (Counts VII

and VIII).

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II.    THE PARTIES’ AGREEMENT

       Plaintiff did not attach contract documents to her Petition.      Thus, documents

reflecting the terms of Plaintiff’s Sam’s Club membership agreement are attached as

Exhibits A-E to the Declaration of Jeffrey Wadlin (“Decl.”). They include: (1) the

receipt for Plaintiff’s 2019 Sam’s Club membership (Exhibit A); (2) a membership

brochure summarizing the benefits of Plaintiff’s 2019 Sam’s Club membership (Exhibit

B); (3) the Terms and Conditions governing Plaintiff’s 2019 Sam’s Club membership

(Exhibit C); (4) a notice sent to Plaintiff advising her of updated Terms and Conditions

taking effect February 1, 2020 (Exhibit D); and (5) the Terms and Conditions of

Plaintiff’s membership that took effect on February 1, 2020 (Exhibit E). Relevant terms

of the agreement are discussed in the Argument section below.

                                 LEGAL STANDARDS

       The Federal Arbitration Act (“FAA”) reflects a strong federal policy favoring

arbitration. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011). Section 2

creates a “presumption of arbitrabilty” and requires that “any doubts concerning the

scope of arbitrable issues should be resolved in favor of arbitration.” See AT&T Techs.,

Inc., v. Comm’n Workers of Am., 475 U.S. 643, 650 (1986). “[A]n order to arbitrate the

particular grievance should not be denied unless it may be said with positive assurance

that the arbitration clause is not susceptible of an interpretation that covers the asserted

dispute.” Id. “In line with these principles, courts must place arbitration agreements on

equal footing with other contracts and enforce them according to their terms.”

Concepcion, 563 U.S. at 339 (internal citations omitted). The party resisting arbitration

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bears the burden of showing the arbitration provision is invalid or does not encompass the

claims at issue. Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 92 (2000).

                 *                           *                           *

       To survive a motion to dismiss under Rule 12(b)(6), plaintiff must allege “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007).      “In considering a motion to dismiss, courts accept the

plaintiff’s factual allegations as true, but reject conclusory allegations of law and

unwarranted inferences.” Silver v. H&R Block, Inc., 105 F.3d 394, 397 (8th Cir.

1997). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Fraud claims are subject to the heightened pleading standard of Rule 9(b). Freitas v.

Wells Fargo Home Mortg., Inc., 703 F.3d 436, 438-39 (8th Cir. 2013).

       The Court may consider on a motion to dismiss, in addition to the pleadings,

“matters incorporated by reference or integral to the claim, items subject to judicial

notice, [and] matters of public record . . . without converting the motion into one for

summary judgment.” Miller v. Redwood Toxicology Lab, Inc., 688 F.3d 928, 931 n.3

(8th Cir. 2012) (quotations omitted). As the Eighth Circuit has explained:

       In a case involving a contract, the court may examine the contract
       documents in deciding a motion to dismiss. This is true even if contract
       documents not attached to the complaint refute a breach-of-contract claim,
       or a claim that defendant breached a statutory or common law duty.

Zean v. Fairview Health Servs., 858 F.3d 520, 526 (8th Cir. 2017) (citations omitted);

Gorog v. Best Buy Co., 760 F.3d 787, 791 (8th Cir. 2014) (similar); Brown v. Intelius,


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Inc., 2012 WL 5878230, at *2 n.3 (E.D. Mo. Nov. 21, 2012) (considering Terms and

Conditions “because they govern the contract that [the parties] entered into”).

                                      ARGUMENT

I.     THE COURT            SHOULD        REFER       PLAINTIFF’S         CLAIMS     TO
       ARBITRATION.

       In February 2019, when Plaintiff purchased her Sam’s Club membership, the

Terms and Conditions of her membership agreement stated: “All Sam’s Club rules,

including these Membership Terms and Conditions, may be amended from time to time

without notice.” Decl. Ex. C at 7. Although notice was not required, in January 2020

Sam’s Club notified Plaintiff that the Terms and Conditions were being updated and

would “include a class-action waiver and mandatory arbitration provision,” and that “[b]y

continuing your Sam’s Club membership beyond February 1, 2020, you agree to be

bound by the updated Terms.” Decl. Ex. D at 21; Decl. ¶ 6 (stating that the mailer was

sent to Plaintiff in January 2020). The updated Terms and Conditions also stated:

       For Sam’s Club Members, these Terms also govern your Membership with
       Sam’s Club as further set forth in the Membership section below
       (“Membership Terms”). By entering and maintaining your Sam’s Club
       Membership, you agree to be bound by these Terms, including the
       Membership Terms and the terms and conditions related to related Sam’s
       Club policies and programs cross-referenced in the Additional Terms
       section below.

Decl. Ex. E at 2 (emphasis added).        Plaintiff maintained her membership beyond

February 1, 2020, after being notified that doing so would constitute acceptance of the

updated Terms and Conditions. Thus, her claims are governed by the February 1, 2020

Terms and Conditions.



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       The February 1, 2020 Terms and Conditions include the following provision under

the heading “Class Action Waiver and Agreement to Arbitrate”:

       ... ALL DISPUTES ARISING OUT OF OR RELATED TO THESE
       TERMS OF USE OR ANY ASPECT OF THE RELATIONSHIP
       BETWEEN YOU AND SAM’S CLUB, WHETHER BASED IN
       CONTRACT, TORT, STATUTE, FRAUD, MISREPRESENTATION, OR
       ANY OTHER LEGAL THEORY, WILL BE RESOLVED THROUGH
       FINAL AND BINDING ARBITRATION BEFORE A NEUTRAL
       ARBITRATOR INSTEAD OF IN A COURT BY A JUDGE OR JURY,
       AND YOU AGREE THAT SAM’S CLUB AND YOU ARE EACH
       WAIVING THE RIGHT TO SUE IN COURT AND TO HAVE A TRIAL
       BY A JURY. YOU AGREE THAT ANY ARBITRATION WILL TAKE
       PLACE ON AN INDIVIDUAL BASIS; CLASS ARBITRATIONS AND
       CLASS ACTIONS ARE NOT PERMITTED AND YOU ARE
       AGREEING TO GIVE UP THE ABILITY TO PARTICIPATE IN A
       CLASS ACTION.

Decl. Ex. E at 11. Because Plaintiff’s claims arise out of or are related to the relationship

between herself and Sam’s Club, they may be asserted only in arbitration.

       Courts have repeatedly held that parties are deemed to have agreed to a new

arbitration provision added to an existing contract where they failed to terminate

following notification of the amendment. See, e.g., Berkley v. Dillards Inc., 450 F.3d

775, 778 (8th Cir. 2006) (“By continuing her employment, [plaintiff] accepted the terms

of the arbitration program.”); see also Winfrey v. Bridgestone/Firestone, Inc., 205 F.3d

1349, 1999 WL 1295310, at *2 (8th Cir. 1999) (unpublished) (similar); Beneficial Nat’l

Bank v. Payton, 214 F. Supp. 2d 679, 686-88 (S.D. Miss. 2001) (where terms and

conditions stated that bank reserved right to amend the terms, cardholder was bound by

arbitration provision subsequently added when the cardholder did not notify bank of his

rejection of the amendment); Bank One N.A. v. Coates, 125 F. Supp. 2d 819, 831-34


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(S.D. Miss. 2001) (similar; collecting cases). Here, the 2019 Terms and Conditions

expressly provided that Sam’s Club could amend its terms, and Plaintiff was advised that

the arbitration provision would apply to those who maintained their membership after

February 1, 2020, which Plaintiff did.1 In light of the federal policy favoring arbitration,

the Court should refer Plaintiff’s claims to arbitration and stay or dismiss the Petition.

II.      IN THE ALTERNATIVE, THE COURT SHOULD DISMISS PLAINTIFF’S
         PETITION FOR FAILURE TO STATE A CLAIM.

         In the alternative, the Court should dismiss Plaintiff’s Petition because the

allegations fail to state a claim upon which relief can be granted.

         A.    Plaintiff’s Contract Claims Fail for Several Reasons.
               1.     Plaintiff Fails to Allege Breach of Contract Because Her 2019
                      Membership Did Not Allow Early Shopping.

         Plaintiff’s contract claims fail at the gate because her 2019 membership agreement

did not grant her early shopping privileges and, thus, the alleged termination of those

privileges could not have breached the agreement. Plaintiff alleges that she renewed her

Sam’s Club “Business Membership” in February 2019, which allowed her to shop “as

early as 7:00 a.m.” while the store was less crowded. Pet. ¶¶ 13-14. She further alleges

that Sam’s Club’s “unilateral[] terminat[ion]” of her Business membership “at some point

during 2019” eliminated her early shopping rights, which she alleges constitutes a breach

of contract. Id. ¶¶ 19, 45-46. But in reality, Plaintiff’s 2019 membership was not a


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  This broad arbitration provision applies to Plaintiff’s claims even though her claims
accrued prior to its effective date. See Berkley, 450 F.3d at 777-78; Winfrey, 1999 WL
1295310 at *2; Solis v. AT&T Mobility LLC, 2015 WL 6739141, at *3 (E.D. Mo. Nov. 3,
2015); Beneficial Nat. Bank, 214 F. Supp. 2d at 688-690.


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Business Membership—because no such membership tier existed in 2019—and Plaintiff

had no contractual right to early shopping privileges at any point in 2019.

       While Sam’s Club previously offered a “Business Membership,” this tier was

eliminated in February 2018 when Sam’s Club simplified its membership structure to a

two-tier system of “Club” ($45) and “Plus” ($100) memberships. See Decl. Ex. B

(membership brochure comparing benefits available to Club and Plus members, and

noting it was revised February 2018).        Under the new membership structure, Plus

members had access to early shopping hours—beginning at 7:00 a.m. Monday through

Saturday, though hours varied by location—but Club members did not. Id. On February

2, 2019, a year after this change in the membership structure, Plaintiff purchased a $45

membership.     See Decl. Ex. A at 1-2; see also Pet. ¶ 13 (indicating Plaintiff’s

membership number, which matches the membership number in Exhibit A). A Club

Membership was the only membership available for $45 at the time of this purchase. See

Decl. Ex. B; Pet. ¶ 12. At the time of the events alleged in the Petition, Plaintiff thus did

not have a membership that entitled her to early shopping privileges.

       It follows that Plaintiff’s claims fail as a matter of law.      Because Plaintiff’s

membership did not grant her early shopping privileges, Sam’s Club could not have

breached her membership agreement by allegedly terminating such privileges. Plaintiff’s

breach of contract claim should thus be dismissed with prejudice for failure to plead

conduct breaching the agreement. See Keveny v. Mo. Military Acad., 304 S.W.3d 98, 104

(Mo. 2010) (elements of breach of contract include, inter alia, existence of a contract and

breach by defendant); Rabalaias v. Barnett, 683 S.W.2d 919, 921 (Ark. 1985) (same).

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               2.     Even if Plaintiff Had Been Afforded Early Shopping Access,
                      Revoking that Access Would Not Have Breached Her
                      Membership Agreement, Which Allowed Such Benefit Changes.

         Even if Plaintiff’s February 2019 membership had afforded her access to early

shopping hours and that access was revoked during the membership year, Plaintiff’s

claims still would fail because benefit changes were expressly allowed by the agreement.

The 2019 Terms and Conditions provided:          “All Sam’s Club rules, including these

Membership Terms and Conditions, may be amended from time to time without notice.”

Decl. Ex. C at 7. They also included a “100% Satisfaction Guarantee on Membership,”

which provided that Sam’s Club would refund the actual amount paid for a membership

at any time during the membership year if the member is not satisfied. Id. at 8; Decl. Ex.

E at 21-22 (similar provision in 2020 Terms and Conditions).

         Thus, even if Sam’s Club had changed the benefits associated with its membership

levels during Plaintiff’s 2019 membership as alleged, doing so would not have breached

the parties’ agreement. See, e.g., Hammarquist v. United Cont’l Holdings, Inc., 809 F.3d

946, 950 (7th Cir. 2016) (changing benefits of airline’s premier membership status did

not breach contract because contract permitted airline to change benefits “‘at any time,’

with or without notice”); Lagen v. United Cont’l Holdings, Inc., 774 F.3d 1124, 1127-28

(7th Cir. 2015) (similar).2 Plaintiff’s breach of contract claim fails for this additional

reason as well.


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  See also Anderson v. Alpha Portland Indus., Inc., 836 F.2d 1512, 1518-19 (8th Cir.
1988) (affirming judgment in favor of defendant employer for claims arising from
termination of health and life insurance benefits where defendant reserved contractual
right to terminate); In re Unisys Corp. Retiree Med. Ben. ERISA Litig., 58 F.3d 896, 904-
05 (3d Cir. 1995) (similar); Kamilowicz v. Hartford Fin. Servs. Grp., Inc., 494 Fed.

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              3.     Breach of the Duty of Good Faith Is Not a Cause of Action
                     Separate from the Breach of Contract Claim.

       The Court also should dismiss Plaintiff’s claim for breach of the duty of good faith

and fair dealing for the additional reason that it is not a separate cause of action from the

breach of contract claim. See Meridian Creative Alliance, LLC v. O’Reilly Auto. Stores,

Inc., 519 S.W.3d 839, 845 (Mo. App. 2017) (“The implied duty of good faith is not a

separate claim beyond or divorced from the contract.”); see also Comprehensive Care

Corp. v. RehabCare Corp., 98 F.3d 1063, 1066 (8th Cir. 1996) (citing Glass v. Mancuso,

444 S.W.2d 467, 478 (Mo. 1969)); Harmon v. Wells Fargo, N.A., 2015 WL 13752627, at

*5 (W.D. Ark. Dec. 30, 2015) (no cause of action for a breach of the contractual duty of

good faith exists in Arkansas). This claim should be dismissed.

       B.     Plaintiff’s Tort and Statutory Claims Fail for Several Reasons.
              1.     The Economic Loss Doctrine Bars Plaintiff’s Tort Claims.

       The Court should dismiss Plaintiff’s tort claims because they are barred by the

economic loss doctrine. “The economic loss doctrine prohibits a plaintiff from seeking to

recover in tort for economic losses that are contractual in nature.” Captiva Lake Invs.,

LLC v. Ameristructure, Inc., 436 S.W.3d 619, 628 (Mo. App. 2014). “[R]ecovery in tort

for purely economic damage is limited to those cases where there is personal injury,

damage to property, other than that sold, or destruction of the property sold due to some

violent occurrence.” Wilbur Waggoner Equip. & Excavating Co. v. Clark Equip. Co.,

668 S.W.2d 601, 603 (Mo. App. 1984).          The doctrine applies to both merchant and



Appx. 153, 157 (2d Cir. 2012); Cook v. Gen. Nutrition Corp., 2017 WL 4340664, at *7-8
(W.D. Pa. Sept. 29, 2017).

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consumer transactions and bars even misrepresentation claims.              See Johnsen v.

Honeywell Int’l Inc., 2015 WL 631361, at *8-9 (E.D. Mo. Feb. 12, 2015) (citing Bruce

Martin Constr., Inc. v. CTB, Inc., 735 F.3d 750, 752 (8th Cir. 2013)); OS33 v.

CenturyLink Commc’ns, LLC, 350 F. Supp. 3d 807, 816 (E.D. Mo. 2018). The Court

should dismiss all of Plaintiff’s tort claims as barred by the economic loss doctrine.

              2.     The Petition Fails to State a Claim for Fraudulent or Negligent
                     Misrepresentation or Fraudulent Inducement.
                     a.     The Statement Was True When Made and Remains So.

       The Court also should dismiss Plaintiff’s tort claims because Plaintiff

affirmatively alleges—and documents embraced by the pleadings show—that the

statement on which her claims are based was true when made and remains so. Plaintiff’s

fraudulent and negligent misrepresentation, and fraudulent inducement claims all require

falsity of the statement upon which the claim is based. Topchian v. JPMorgan Chase

Bank, N.A., 760 F.3d 843, 853 (8th Cir. 2014) (fraudulent and negligent

misrepresentation); Trotter’s Corp. v. Ringleader Restaurants, Inc., 929 S.W.2d 935, 939

(Mo. App. 1996) (fraudulent inducement) (citing ITT Commerical Fin. Corp. v. Mid-Am.

Marine Supply Corp., 854 S.W.2d 371, 386 (Mo. 1993)). Because Plaintiff’s Petition and

documents it embraces concede the truth of the statement at issue, her tort claims fail.

       First, Plaintiff must allege the statement was false when made. Powers v. Shore,

248 S.W.2d 1, 6 (Mo. 1952) (“The truth or falsity of the representation must be

determined as of the time it was made and as of the time it was intended to be, and was,

relied upon and acted upon.”). Plaintiff’s claims are based on a Sam’s Club cashier’s

alleged statement in July 2019 that Plaintiff’s membership did not permit her to shop

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between 7:00 a.m. and 9:00 a.m. Pet. ¶ 15. Yet, Plaintiff affirmatively alleges that the

statement was true when made. Indeed, Plaintiff alleges that the cashier’s statement that

non-Plus members could not shop before 9:00 a.m. remained true on a subsequent visit.

Id. ¶ 15.     Plaintiff alleges only “[u]pon information and belief” that the cashier’s

statement became false “at some point during 2019” when Sam’s Club allegedly

amended its rules to allow all membership tiers to shop early. Id. ¶ 19. Plaintiff’s

admission that the cashier’s statement was true when made, and on a subsequent visit, is

fatal to her fraud and misrepresentation claims. See Twombly, 550 U.S. at 557.

         Second, the allegation—made solely on information and belief—that Sam’s Club

subsequently amended its rules at some point in 2019 to allow all members to shop early

is false, as demonstrated by documents the Court may consider in deciding the motion to

dismiss. The membership benefits brochure that reflects the terms of Plaintiff’s Club

membership shows that early shopping privileges are a benefit afforded only Plus

members and that hours may vary by club. See Decl. Ex. B.3 Plaintiff thus fails to plead

that the cashier’s statement was ever false. Plaintiff’s fraud and misrepresentation claims

should be dismissed with prejudice. See OmegaGenesis Corp. v. Mayo Found. for Med.

Educ. & Research, 851 F.3d 800, 804-05 (8th Cir. 2017) (affirming dismissal of fraud

claims refuted by contractual provisions).


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  The Court also may take judicial notice of current membership information on Sam’s
Club’s website, which shows only Plus members are offered early shopping. See SAM’S
CLUB, https://www.samsclub.com/sams/pagedetails/content.jsp?pageName=aboutSams
(last visited June 4, 2020) (under “About Sam’s Club Membership”); Fed. R. Evid.
201(b)(2); Enter. Rent-a-Car Co. v. U-Haul Intern., Inc., 327 F. Supp .2d 1032, 1042 n.4
(E.D. Mo. 2004) (taking judicial notice of company website).

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                     b.     Plaintiff’s Fraud Claims Also Fail because the Petition
                            Does Not Adequately Allege Fraudulent Intent.

       Even if it were true that Sam’s Club subsequently extended early shopping hours

to all membership levels, Plaintiff’s fraud claims still should be dismissed for failure to

plead intent as required by Rule 9(b). See Topchian, 760 F.3d at 853 (fraudulent

misrepresentation requires plausible allegation that defendant’s agent knew the

representation was false and intended for the plaintiff to act on the representation);

Trotter’s Corp., 929 S.W.2d at 939 (fraudulent inducement requires plausible allegation

that the speaker knew the statement was false when made and spoke “with the purpose of

deceiving” the plaintiff). Plaintiff does not include the necessary allegations here—nor

could she. She alleges that she later decided the cashier’s representation was false

because during a subsequent visit a separate Sam’s Club employee informed her that all

members were entitled to shop before 9:00 a.m. Pet. ¶ 18.      But these allegations do not

allow for a reasonable inference that the initial cashier knew his or her statement was

false or intended to deceive Plaintiff.     Because Plaintiff’s allegations are “equally

consistent with a scenario in which [the cashier] fully and reasonably believed that his [or

her] statement was true,” they fail to meet even Rule 12(b)(6)’s more lenient standard and

must be dismissed. Topchian, 760 F.3d at 853 (citing Iqbal, 556 U.S. at 678).

                     c.     Plaintiff’s Negligent Misrepresentation Claim             Fails
                            because the Petition Fails to Allege Negligence.

       To plead a claim for negligent misrepresentation, Plaintiff must plausibly allege

that the cashier made the alleged misrepresentation due to a “failure to exercise

reasonable care.” Topchian, 760 F.3d at 853. Like the plaintiff in Topchian, Plaintiff


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here fails to allege “any steps that [the cashier] took or failed to take to determine”

whether his or her representation was false, and as a result the Petition is “equally

consistent with [the cashier] having exercised reasonable . . . care to investigate the truth

of his [or her] statement.” Id. Thus, Plaintiff fails to plead that the cashier acted

negligently.

               3.    Plaintiff Fails to State a Claim for Violation of the MMPA
                     because the Petition Fails to Allege an Unfair Practice.

       “The MMPA provides a private right of action to any person who sustains

ascertainable loss in connection with the purchase or lease of merchandise as a result of

certain practices declared unlawful.” Kuhns v. Scottrade, Inc., 868 F.3d 711, 719 (8th

Cir. 2017); see also Mo. Rev. Stat. § 407.020(1) (declaring unlawful the use of “any

deception, fraud, false pretense, false promise, misrepresentation, unfair practice or the

concealment, suppression, or omission of any material fact”). Plaintiff alleges that Sam’s

Club’s “unlawful” practice was its termination of Plaintiff’s “Sam’s Business

Membership and charg[ing] her for a Sam’s Plus Membership.” Pet. ¶ 78. This claim

fails for the reasons discussed above. To the extent the claim relies on alleged unlawful

termination of Plaintiff’s Business membership, it fails for the same reasons as Plaintiff’s

breach of contract claims. To the extent it relies on fraud or misrepresentation, the claim

fails for the same reasons as Plaintiff’s other fraud and misrepresentation claims.

III.   PLAINTIFF’S REQUEST FOR DAMAGES NOT ALLOWED BY HER
       MEMBERSHIP AGREEMENT SHOULD BE STRICKEN.

       Plaintiff’s Sam’s Club membership agreement includes a limitation of liability

provision, in all capital letters, that prohibits Plaintiff from recovering losses or damages


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of any kind arising out of or related to her membership. Decl. Ex. E at 10. In the

alternative, the provision limits Plaintiff’s recoverable damages to fees paid by Plaintiff

in connection with her membership during the six (6) months preceding the date on

which the claim arose. Id. Such provisions are enforceable. Hill v. Lincoln Property

Co., 2011 WL 65929, at *3-6 (E.D. Mo. Jan. 10, 2011) (exculpatory clause in contract of

adhesion was enforceable); Saey v. Xerox Corp., 31 F. Supp. 2d 692, 701 (E.D. Mo.

1998); Haines v. St. Charles Speedway, Inc., 874 F.2d 572, 575 (8th Cir. 1989)

(limitation of liability provision in contract of adhesion was enforceable). The Court

should strike or limit Plaintiff’s claim for damages consistent with the agreement.

IV.    THIS COURT LACKS JURISDICTION OVER OUT-OF-STATE
       PUTATIVE CLASS MEMBERS’ CLAIMS AGAINST SAM’S CLUB.

       This Court cannot, consistent with due process, exercise personal jurisdiction over

Sam’s Club with respect to the claims of putative class members who reside outside

Missouri and who have no connection to the State. Bristol-Meyers Squibb Co. v. Super.

Ct. of Cal., 137 S.Ct. 1773, 1781-82 (2017). Thus, the Court should dismiss the putative

nationwide class claims asserted against Sam’s Club for lack of personal jurisdiction. See

In re Dicamba Herbicides Litig., 359 F. Supp. 3d 711, 723 (E.D. Mo. 2019) (dismissing

nationwide class claims against non-resident defendant).

                                      CONCLUSION

       For the foregoing reasons, the Court should refer Plaintiff’s claims to binding

arbitration or, in the alternative, dismiss Plaintiff’s claims with prejudice.




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Dated: June 5, 2020                 Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 5th day of June, 2020, the foregoing

was filed electronically via the ECF/CM system with the Clerk of Court which will serve

Notice of Electronic Filing upon all counsel of record via electronic mail.




                                                  /s/ A. Elizabeth Blackwell




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